 Case 3:16-cv-08981           Document 10-1      Filed 09/21/16      Page 1 of 2 PageID #: 67




                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                 HUNTINGTON DIVISION

NAOMI SPENCER DALY,
DARRELL CASTLE and
DORREL W. ARTHUR,

                Plaintiffs,

                v.                            No. 3:16-cv-08981

NATALIE TENNANT,
in her official capacity as
Secretary of State of the
State of West Virginia,

                Defendant.


                                ORDER GRANTING JOINDER

        Having considered the motion of Dorrel W. Arthur to join Brian Wood in his official
capacity as Putnam County Clerk as a required party to this action pursuant to Rule 19(a)(1)(A),
(B)(ii), Federal Rules of Civil Procedure, the Court finds as follows:


        1.      In the absence of the Putnam County Clerk, this Court cannot accord complete
relief among the existing parties.


        2.      The Putnam County Clerk has an interest related to the subject matter of this
action and is so situated that disposing of the action in the absence of the Putnam County Clerk
may leave Dorrel W. Arthur subject to a substantial risk of inconsistent obligations.


        Accordingly it is ORDERED that the motion to join the Putnam County Clerk as an
additional defendant to this action be, and the same hereby is, GRANTED.


        It is further ORDERED that the Putnam County Clerk is joined here only in his official
capacity and only for the purpose of granting or denying appropriate injunctive relief relative to
 Case 3:16-cv-08981        Document 10-1        Filed 09/21/16     Page 2 of 2 PageID #: 68




the pending emergency motion for temporary restraining order. That motion will be heard by this
Court at 1:00 PM on Thursday, September 22, 2016, in the court room situated in the United
States Federal Building in Huntington, West Virginia, at which time Brian Wood, in his capacity
as Putnam County Clerk may appear and represent his interests if he chooses.


       Finally, it is ORDERED that a copy of this order together with the previously filed
motion for joinder be served on Brian Wood, Putnam County Clerk, forthwith by delivering a
true copy of the same to him in person or by providing him a copy at his office in the Putnam
County Courthouse through e-mail or facsimile transmission.


       Entered this 21st day of September, 2016.



                                                    ____________________________________
                                                                JUDGE

Presented by:

s/Harvey D. Peyton
Harvey D. Peyton, Esquire (#2890)
Thomas H. Peyton, Esquire (#8841)
Peyton Law Firm, PLLC
P. O. Box 216
Nitro, WV 25143
Telephone: (304) 755-5556
Fax: (304) 755-1255
Counsel for Dorrel W. Arthur
